                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

Case No.        CV 21-3170-JWH (KS)                                         Date: June 14, 2021
Title       Preciliano Tomas Chavez v. Twin Towers Facility




Present: The Honorable:      Karen L. Stevenson, United States Magistrate Judge


                   Gay Roberson                                             N/A
                   Deputy Clerk                                   Court Reporter / Recorder

        Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:

Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE RE: DISMISSAL

       On April 9, 2021, Plaintiff, who is incarcerated at Wasco State Prison, filed a civil rights
complaint (the “Complaint”) pursuant to 42 U.S.C. § 1983 (Dkt. No. 1) and an application (the
“Application”) to proceed without prepayment of the filing fees (i.e., “IFP” or in forma pauperis)
(Dkt. No. 2). On April 21, 2021, United States District Judge John W. Holcomb denied the
Application because Plaintiff failed to provide a signed certificate of an authorized officer. (Dkt.
No. 4.) Judge Holcomb ordered Plaintiff to file, within 30 days, a new IFP application and
complaint with the Certified Trust Account Statement and Disbursement Authorization. (Dkt. No.
4.) The Order stated that “[i]f plaintiff fails to submit the required documents within 30 days, this
case shall be DISMISSED.” (Id.)

        More than three weeks have now passed since Plaintiff’s May 20, 2021 deadline for filing
a new IFP application, and Plaintiff has not filed a new IFP application with the Court.
Accordingly, the case is now subject to dismissal for failure to comply with court orders and failure
to either pay the filing fee or file a complete application to proceed IFP. In lieu of immediate
dismissal, however, IT IS HEREBY ORDERED that Plaintiff shall show cause, no later than
July 6, 2021, why the action should not be dismissed.

        To that end, the Clerk is directed to send Plaintiff a copy of the Central District’s form
Request to Proceed Without Prepayment of Filing Fees with Declaration in Support (CV-60P). To
discharge this Order and proceed with his case, Plaintiff must either: (1) pay the $402 filing
fee in full; or (2) file a complete IFP application, with a signed certificate of an authorized
officer and, inter alia, a Certified Trust Account Statement on or before the July 6, 2021
deadline.


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        Plaintiff’s failure to timely comply with this Order will result in the dismissal of his
case.

        IT IS SO ORDERED.
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                                                                Initials of Preparer   gr




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